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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

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OLIVIA SHEPARD HAYES,
JANICE HAYES,

Plaintiff,

vs. No. 05-2019 Ma/V

HOME TECI'I SERVICES CO. , INC. ,
et al.,

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Defendant.

 

ORDER DEN'YING MOTION FOR PROTECTIVE ORDER

 

Before the court is the June 20, 2005 motion of the
plaintiffs, Olivia Shepard.Hayes and Janice Hayes, pursuant to Rule
26 of the Federal Rules of Civil Procedure, for a protective order
relieving them from the obligation to respond to two hundred and
fifty (250) requests for admissions by the defendant, Novastar
Mortgage, Inc. The motion has been referred to the United States
Magistrate Judge for determination. For the following reasons, the
motion is denied, without prejudice.

With its motion, the plaintiffs filed a certificate of
consultation with counsel for the opposing party as required by
Local Rule 7.2 (a)(l)(B). A mmtion must be accompanied by a
certification that, after consultation between the parties, they

are unable to reach an accord as to all issues. The plaintiffs'

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attorney in this case certified that she conferred in good faith
with the other affected parties in an effort to resolve the dispute
without court action but opposing counsel objected to the motion
for protective order.

The defendants maintain that when plaintiff's counsel
telephoned to discuss the present motion, she announced that the
plaintiffs would seek a protective order rather than attempting to
resolve the dispute. During the conversation, defendants’ counsel
asked plaintiffs' counsel to identify a specific discovery request
for which the plaintiffs would seek a protective order. but the
plaintiffs' attorney' refused to do so. Had the jplaintiffs'
attorney responded to this inquiry, it is likely that the issue
could have been resolved prior to filing of this motion.

The court finds that the plaintiffs have not adequately
consulted with the defendants’ counsel prior to the filing of the
motion for protective order. Furthermore, it is apparent that a
portion of discovery dispute, if not the entire dispute, could have
been resolved before the filing of this motion had the plaintiffs'
counsel responded to the defendants’ inquiry. Consequently, Olivia
Shepard Hayes and Janice Hayes motion for protective order is
denied, without prejudice, for failure to adequately comply with
Local Rule 7.2(a)(1)(B).

If the plaintiffs decide to renew their motion, after properly

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satisfying the consultation requirement, they are reminded that a
motion for protective order should.be supported by specifics rather
than overly broad conclusory statements. In re Terra Int'l., Inc.,
134 F.3d 302, 306 (5th Cir. 1998). The present motion does not
contain any specifics. The plaintiffs do not identify a single
request that is over-broad or that indicates that the defendants
have abused the discovery process.

Although the court has decided at this time to deny the
plaintiffs' motion, the defendants are reminded that “[a]dmissions
sought under Rule 36 are time-saving devices, designed to narrow
the particular issues for trial.” Honeycutt v. First Federal Bank,
2003 WL 1054235, at *1 {W.D. Tenn. 2003). “A request for
admissions ‘should be confined to facts that are not in material
dispute.” Id. (quoting United States v. Watchmakers of Switzerland
Info. Cent., Inc., 25 F.R.D. 197, 201 (S.D.N.Y. 1959). “Generally,
the statements posed by the party seeking their admission should be
‘capable of an anser by a yes or no.'” aneycutt, 2003 WL 1054235,
at *1 (quoting thnstone v. Cronlund, 25 F.R.D. 42, 45 (D. Pa.
1960). “Statements that are vague, or statements susceptible of
more than one interpretation, defeat the goals of Rule 36 and are
properly objectionable.” Id. at *l. With this in. mind, the
defendants’ requests for two hundred and fifty admissions appears

to be unduly burdensome and not designed to narrow the particular

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issues for trial.

Accordingly, the motion for protective order is denied,

without prejudice.

IT IS 80 ORDERED this llth day of July, 2005.

DIANE K. VESCOVO
UNITED STATES M.AGISTRATE JU'DGE

 

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Honorable Samuel Mays
US DISTRICT COURT

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